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                           THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                                                                   FILED
                                                                                        MAY
                                   DEL RIO DIVISION                                             1   9 2023
                                                                                   CLER    U

  JASMINE C., et al.,                                    §
        Plaintiffs,                                                                         V   '   DEPUK
                                                               Case No. DR-23-CV-14-AM


  DANIEL DEFENSE, LLC, et al.                            §
     Defendants.                                         §
                                                         §


                                             [I) 1 031

        On this date, the Court, sua sponte, considers this case. Dismissal of the Plaintiffs' claims

against the unserved Defendant, may be appropriate because the Plaintiffs have failed to comply

with the time limits for service. "If a defendant is not served within 90 days after the complaint is

filed, the   courton motion   or on its own after notice to the   plaintiffmust dismiss the action
without prejudice against that defendant or order that service be made within a specified time."

FED.   R. Civ. P. 4(m).   Nothing in the record indicates that the Plaintiffs have served all the

Defendants involved in this case.

        It is hereby ORDERED that, within fourteen (14) days of the date of this order, the

Plaintiffs shall show cause why they have failed to serve all defendants named in their complaint.

         SIGNED and ENTERED on this 19th day of May 2023.




                                              ALIA MOSES
                                              Chief United States District Judge
